
408 So.2d 1039 (1982)
L. H., a Child; C. J. D., a Child; G. P. S., a Child; D. T. H., a Child; H. A., a child; M. D. B., a Child; A. C., a Child; R. A. J., a Child; T. O., a Child; and K. G. D., a Child, Petitioners,
v.
STATE of Florida, Respondent.
No. 60061.
Supreme Court of Florida.
January 7, 1982.
Jerry Hill, Public Defender, and P. Douglas Brinkmeyer and David A. Davis, Asst. Public Defenders, Bartow, for petitioners.
Jim Smith, Atty. Gen., and Eula Tuttle Mason and Deborah A. Osmond, Asst. Attys. Gen., Tampa, for respondent.
OVERTON, Justice.
This is a petition to review a decision of the Second District Court of Appeal reported at 392 So.2d 294 (Fla. 2d DCA 1980), which directly conflicts with the decision of the Fifth District Court of Appeal in P.L.H. v. Brownlee, 389 So.2d 649 (Fla. 5th DCA 1980). We have jurisdiction. Art. V, § 3(b)(3), Fla. Const.
The issue is whether the amount of time the state had to file a delinquency petition, after a complaint had been referred to a juvenile intake officer, was thirty days, as provided in then Rule of Juvenile Procedure 8.110(e), or forty-five days, as provided in section 39.05(6), Florida Statutes (1979). Our decision in this case is of limited application because we have since amended Rule 8.110(e) to conform with the forty-five-day statutory period. See In re Florida Rules of Juvenile Procedure, 389 So.2d 197 (Fla. 1980).
We agree with the Second District Court of Appeal that our decision in State Department of Health &amp; Rehabilitative Services v. Golden, 350 So.2d 344 (Fla. 1976), is inapplicable under the circumstances of this cause and approve the district court's reasoning that the legislature had the substantive authority to establish the time period. Accordingly, we approve the instant decision of the Second District Court of Appeal and disapprove the decision of the Fifth District Court of Appeal in Brownlee.
It is so ordered.
SUNDBERG, C.J., and ADKINS, BOYD, OVERTON, ALDERMAN and McDONALD, JJ., concur.
